         Case 1:19-cv-06597-PKC Document 15 Filed 10/03/19 Page 1 of 2


                                                                                                       r,
                                                                                                       If
UNITED STATES DISTRICT COURT                                                                           h
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SOUTHERN DISTRICT OF NEW YORK                                                                          ,,
                                                                                                       il['
                                                                                                       fl
                                                                                                       ,,n
                                                                                                       !
                                                                      19 Civ. 6597 (PKC)               i
                                                                                                       !,
TINA CARR and YVETTE COLON,

                                  Plaintiffs,
                                                                         [~~
                                                                                                       !
                                                                                                            ,

               - against-                                                                                   ''
                                                               STIPULATION AND ORDER                     ,t
                                                                                                              .

                                                               OF VOLUNTARY DISMISSAL                    ~.
ELISABETH DEVOS, in her official capacity as                                                             ij
Secretary of the U.S. Department of Education,                                                           r
                                  Defendant.


       WHEREAS, on July 16, 2019, plaintiffs Tina Carr and Yvette Colon (collectively,

"Plaintiffs") brought this action pursuant to the Administrative Procedure Act, 5 U.S.C. § 701 et

seq., concerning certain student loans (the "Loans") borrowed by Plaintiffs;

       WHEREAS, during the pendency of this action, the Loans were modified by, or at the

request of, the Secretary, resulting in balru;ices of $0.00 and thus no money owed by Plaintiffs, as

described in the October 2, 2019, Declaration of Cristin Bulman, attached as Exhibit A; therefore

       NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between

the parties and their counsel, that:

        1.     Pursuant to Fed. R. Civ. P. 41(a)(l)(A)(ii), this action shall be and hereby is

dismissed with prejudice and without costs or attorney's fees to·either party.

        2.      This Stipulation may be filed with the Clerk of Court without further notice to

either party; and

        3.      This Stipulation may be signed in counterparts (including, without limitation, by

PDF or facsimile), each of which will be deemed and original and all of which will be taken

together and deemed one instrument.




                                            -page 1 of2-
        Case 1:19-cv-06597-PKC Document 15 Filed 10/03/19 Page 2 of 2




 New York, New York                   New York, New York
 October L_, 2019                     October 2-_, 2019

 NEW YORK LEGAL ASSISTANCE GROUP GEOFFREY S. BERMAN
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 SO ORDERED:




                    10/7/2019



  All motions terminated. The Clerk shall close
  the case.



                                 -page2 of2-
